     Case 1:08-cr-00025-MW-GRJ             Document 132         Filed 07/28/09      Page 1 of 2


                                                                                             Page 1 of 2


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                               CASE NO. 1:08-cr-00025-MP-AK

DANNIE CHARLES REAVES, et al.,

       Defendants.

______________________________/

                                             ORDER

       This matter is before the Court following a July 24, 2009, pre-trial telephonic hearing.

Prior to the hearing, defendants Dannie Charles Reaves and Daniel Chester Reaves filed motions

(Docs. 127 and 128) to sever their trial, which is currently scheduled for the trial term beginning

Tuesday, August 11, 2009, from the trial of defendant Eric Harris, whom the government

recently indicted as a co-conspirator in this case. Defendant Harris also filed a motion to compel

discovery (Doc. 129) and a motion to suppress (Doc. 130). Because the government must be

allowed sufficient time to respond to these motions, and because a hearing is necessary to

resolve them, it is not possible to hold the trial of all three defendants as presently scheduled.

       At the hearing, counsel for defendant Harris notified the Court of scheduling conflicts

that may prohibit him from representing defendant at trial in the coming months. He therefore

moved to continue his client’s trial and to waive his client’s right to a speedy trial. Defendants

Dannie and Daniel Reaves are opposed to any further continuance. As stated at the hearing, the

Court will grant defendant Harris’ motion to continue and schedule hearings on all other pending

motions. Because the earliest date for a hearing on the motions to sever is August 11, 2009, the
     Case 1:08-cr-00025-MW-GRJ             Document 132       Filed 07/28/09      Page 2 of 2


                                                                                          Page 2 of 2


Court also finds it necessary to continue the trial of Dannie and Daniel Reaves. Under the

circumstances, the Court finds that the ends of justice served by such a continuance outweigh the

interests of the defendants and the public in a speedy trial. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       A hearing on the motions to sever (Docs. 127 and 128), filed by defendants
                 Dannie and Daniel Reaves, is set for Tuesday, August 11, 2009, at 10:00 a.m.,
                 and the trial of Dannie and Daniel Reaves is CONTINUED. If the Court denies
                 the motions to sever, defendants’ new trial date will depend on the outcome of the
                 hearing on defendant Harris’ motion to suppress. Otherwise, the Court will
                 determine a new trial date following the hearing.

        2.       Defendant Eric Harris’ oral motion to continue his trial is GRANTED. The Court
                 will determine a date for trial following a hearing on defendant Harris’ motion to
                 compel (Doc. 129) and motion to suppress (Doc. 130), which is hereby set for
                 Tuesday, August 20, 2009, at 1:30 p.m.

        DONE AND ORDERED this 28th day of July, 2009


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge




Case No: 1:08-cr-00025-MP-AK
